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                       UNITED STATES DISTRICT COURT
                       SOUTHERN DISTRICT OF FLORIDA
                            FORT PIERCE DIVISION
                        CASE NO. 12-14087-CR-GRAHAM(s)

  UNITED STATES OF AMERICA

                        Plaintiff,

  vs.

  WATINEE ROJPANICH,

                     Defendant.
  _____________________________/


        ORDER ADOPTING MAGISTRATE'S REPORT AND RECOMMENDATION

         THIS CAUSE came before the Court upon the Defendant’s
  request to enter a plea of guilty before a Magistrate Judge.
        THE MATTER was referred to Magistrate Judge Frank J. Lynch, on
  January 15, 2013. A Report and Recommendation filed on January 23,
  2013 recommended that the Defendant’s plea of guilty be accepted.
  The Defendant and the Government were afforded the opportunity to
  file objections to the Report and Recommendation, however, none
  were filed. The Court has conducted a de novo review of the entire
  file. Accordingly, it is
          ORDERED AND ADJUDGED that the Report and Recommendation of
  United States Magistrate Judge Frank J. Lynch, is hereby Adopted
  and Approved in its entirety. The Defendant is adjudged guilty as
  to Count Two of the Superseding Information.


         DONE AND ORDERED in Chambers at Miami, Florida, this 8th
  day of February, 2013.


                                       ____________________________
                                       DONALD L. GRAHAM
                                       UNITED STATES DISTRICT JUDGE
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  Copied: Magistrate Judge Frank J. Lynch
          Shaniek Maynard, AUSA
          Robert Leventhal, Esq.
